    Case: 1:19-cv-00242 Document #: 59 Filed: 08/01/19 Page 1 of 3 PageID #:210




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RANDY R. LIEBICH,

                  Plaintiff,                            Case No. 19-cv-00242

             v.                                         Hon. Thomas M. Durkin

ILLINOIS DEPARTMENT OF                                  Hon. Sunil R. Harjani
CORRECTIONS et al.,

                  Defendants.


    JOINT MOTION TO EXTEND DEADLINE TO SERVE WRITTEN DISCOVERY

       Pursuant to Federal Rule of Civil Procedure 6(b), plaintiff Randy R. Liebich and

defendants John Baldwin, Charles Best, Tyneer Butler-Winters, Joshua Clements, Darren

Davenport, Elizabeth Johnson, Byron Mitchell, Walter Nicholson, Ethan Olson, Victor Perez,

Randy Pfister, Elizabeth Rivera, William Shevlin, Joel Starkey, James Wilcock, and the Illinois

Department of Corrections, through counsel, hereby request a two-week extension of their

deadline to serve written discovery. In support of their motion, the parties state as follows:

                                         BACKGROUND

       1.      Plaintiff initiated this civil rights lawsuit on January 11, 2019, alleging his

constitutional rights and rights under federal disabilities and Illinois tort law were violated while

he was a prisoner of the Illinois Department of Corrections. (ECF No. 1.)

       2.      This case is subject to the Mandatory Initial Discovery Pilot Program.

       3.      The parties exchanged mandatory initial discovery responses on June 20, 2019.

(See ECF Nos. 48, 50.)

       4.      The parties are scheduled to appear before Magistrate Judge Harjani for a
    Case: 1:19-cv-00242 Document #: 59 Filed: 08/01/19 Page 2 of 3 PageID #:210




settlement conference on August 13, 2019. (ECF No. 56.)

       5.      The current deadline for the parties to serve written discovery is August 1,

2019. (ECF No. 47.)

       6.      Federal Rule of Civil Procedure 6(b) permits the Court, on motion of the parties,

“for good cause, [to] extend the time” for any act that “may or must be done within a specified

time.” Fed. R. Civ. P. 6(b)(1)(A).

       7.      In view of the upcoming settlement conference, the parties agree it would be

prudent to extend the deadline for issuing their written discovery requests by two weeks, until

August 15, 2019.

       8.      The requested extension promotes judicial economy by permitting the parties to

conserve resources in the event the settlement conference ends in a resolution of the matter. If

the conference is not successful, the parties will promptly exchange discovery requests two days

thereafter and proceed with the litigation.

       9.      The parties seek this extension in good faith and not to cause undue delay.

               WHEREFORE, the parties respectfully request the Court enter an order: (1)

extending their deadline to serve written discovery by two weeks to August 15, 2019; and (2)

granting any additional relief the Court deems just and proper.

Dated: August 1, 2019                 Respectfully Submitted,


RANDY LIEBICH                                    ILLINOIS DEPARTMENT OF
                                                 CORRECTIONS, JOHN BALDWIN,
By: s/ Alison R. Leff_______                     RANDY PFISTER, WALTER NICHOLSON,
        One of His Attorneys                     CHARLES BEST, TYNEER BUTLER-
                                                 WINTERS, JOEL STARKEY, VICTOR M.
Arthur Loevy                                     PEREZ, BYRON MITCHELL, JOSHUA
Jon Loevy                                        CLEMENTS, JAMES WILCOCK,
Alison R. Leff                                   ELIZABETH JOHNSON, ELIZABETH
LOEVY & LOEVY                                    RIVERA, DARREN DAVENPORT,



                                                 2
    Case: 1:19-cv-00242 Document #: 59 Filed: 08/01/19 Page 3 of 3 PageID #:210




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                                                           One of Their Attorneys

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                                  CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on August 1, 2019, a copy of the

foregoing document was served using the Court’s CM/ECF system, which will send an

electronic notice of filing to all counsel of record.


                                                                s/ Alison R. Leff




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